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UNITED STATES DISTRICT COURT ,

UNITED STATES OF AMERICA

v. CASE NO. 3:19-cr-Q57- D> SAM(R
18 U.S.C. § 371
QUALLA MILLER 42 U.S.C. § 1320a-7b(b)(1)(A)
EARL SMALLS 42 U.S.C. § 1320a-7b(b)(2)(B)
MARIO CORREA JACKSON 18 U.S.C. § 1957
INDICTMENT

The Grand Jury charges:

COUNT ONE
(Conspiracy)

A. Introduction
At times material to this Indictment:
L. Qualla Miller (“Miller”) was a resident of the Middle
District of Florida and a patient recruiter for CASEPARK, Park and King

Pharmacy, and other co-conspirator pharmacies.
2. Earl Smalls (“Smalls”) was a resident of the Middle District of
Florida and a patient recruiter for CASEPARK, Park and King Pharmacy,

and other co-conspirator pharmacies.
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3. Mario Correa Jackson (“Jackson”) was a member of the U.S.
Navy, a resident of the Middle District of Florida, and a patient recruiter for
Smalls.

4, Co-conspirator Felmor Agatep (“Dr. Agatep”) was a medical
doctor licensed in Florida who resided and practiced medicine in the Middle
District of Florida and was not a TRICARE provider.. As part of his practice,
Dr. Agatep prescribed compounded creams to patients whose prescriptions
were filled at Park and King Pharmacy, and other pharmacies.

5. CASEPARK, owned and operated by co-conspirator Scott
Balotin (“Balotin”), was a marketing firm located in the Middle District of
Florida that employed sales representatives to market compounded
medications, specifically creams for pain and scars, among others to
beneficiaries of health care benefit programs. CASEPARK focused its
promotional efforts on TRICARE beneficiaries based upon an understanding
and belief that TRICARE would pay claims for these expensive compounded
creams. CASEPARK operated out of a residence in Jacksonville, Florida
(CASEPARK-residence), and out ofa stecefront location in Jacksonville,

Florida (CASEPARK-storefront).
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6. Park and King Pharmacy, owned and operated by co-conspirator
Greg Carter (“Carter”), was a retail and compounding pharmacy that
provided compounded drugs to TRICARE beneficiaries. Compounded drugs
may be prescribed by a physician when an FDA-approved drug does not meet
the health needs of a particular patient or when a patient cannot consume
medication by traditional means.

7. TRICARE was a federal health insurance program that provided
coverage for U.S. military members, retirees, and their family members.
TRICARE was a federal health care benefit program, as defined by Title 18,
United States Code, Section 24(b), and a federal health care program, as
defined in Title 42, United States Code, Section 1320a-7b(f). Individuals who
received benefits from TRICARE were commonly referred to as TRICARE

- beneficiaries.
B. The Conspiracy

8. Beginning in or about May 2014, and continuing through and
including in or about August 2015, in the Middle District of Florida and
elsewhere, the defendants,

QUALLA MILLER,
EARL SMALLS,
and
MARIO CORREA JACKSON,
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did knowingly and willfully combine, conspire, confederate and agree with
others, both known and unknown to the Grand Jury, including Balotin,
Carter, and Dr. Agatep, to commit certain offenses against the United States,
specifically:

a. the offering and paying of health care kickbacks, in

violation of 42 U.S.C. § 1320a-7b(b)(2)(B);

b. the soliciting and receiving of health care kickbacks, in

violation of 42 U.S.C. § 1320a-7b(b)(1)(A); and

C. health care fraud, in violation of 18 U.S.C. § 1347.

C. Manner and Means
9. The manner and means by which the defendants and their
coconspirators sought to accomplish the purposes of the conspiracy included,
among other things:

a. It was a part of the conspiracy that Carter would and did
own and operate Park and King Pharmacy, which filled retail prescriptions
and produced compounded medications, particularly expensive creams,
prescribed by Dr. Agatep and other physicians.

b. It was further part of the conspiracy that Balotin would

and did own and operate CASEPARK, a marketing firm. CASEPARK
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recruited patients to obtain prescriptions for expensive compounded creams
that would be paid for by TRICARE and other health benefit programs.

c. It was further part of the conspiracy that Carter would and
did cause Park and King Pharmacy to enter into an unlawful marketing
agreement with Balotin at CASEPARK. Carter agreed to pay and did in fact
pay illegal kickbacks to Balotin and CASEPARK seeiitety a percentage of
the proceeds of claims paid to Park and King Pharmacy by TRICARE and
other health care benefit programs, after expenses, for prescriptions for
compounded medications that CASEPARK recruiters directed to Park and
King Pharmacy to be filled.

d. It was further part of the conspiracy that conspirators
would and did bill and cause to be billed TRICARE and other health care
benefit programs for compounded creams Dr. Agatep and other physicians
prescribed to TRICARE beneficiaries, among others, which prescriptions Park
and King Pharmacy and other pharmacies filled.

e. It was further part of the conspiracy that Carter would and
did open and control bank accounts in the name of Park and King Pharmacy
into which funds from TRICARE and other health benefit programs were

received as a result of claims for payment Park and King Pharmacy submitted
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for compounded cream prescriptions marketed by CASEPARK and other
conspirator marketers, and written by Dr. Agatep and other physicians.

f. It was further part of the conspiracy that conspirators
Miller, Smalis, and Jackson would and did open, control and use bank
accounts into which illegal kickbacks from Park and King Pharmacy and other
conspirator pharmacies were deposited.

g. It was further part of the conspiracy that Balotin via
CASEPARK, would and did employ sales representatives to recruit patients to
be seen by physicians and provide said patients with preprinted prescriptions
featuring compounded medications with high rates of reimbursement for such
generalized ailments as pain and scars. The physicians, including Dr.
Agatep, would and did prescribe compounded creams, which prescriptions
were routed through Park and King Pharmacy, and other conspirator
pharmacies to be filled.

h. It was further part of the conspiracy that the conspirators
would and did direct CASEPARK-recruited patients, many of whom were
TRICARE beneficiaries, to Dr. Agatep and other physicians to obtain
prescriptions for compounded creams, which sreactiptinns Park and King and

other conspirator pharmacies filled.
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i. It was further part of the conspiracy that Dr. Agatep, working
at the direction of other conspirators, would and did call high volumes of
CASEPARK recruited patients, many of whom were TRICARE beneficiaries,
and prescribe compounding creams, which prescriptions were filled at Park
and King Pharmacy and other conspirator pharmacies.

j. It was further part of the conspiracy that conspirators would
and did agree to pay, and did in fact pay, illegal kickbacks to Dr. Agatep,
equal to approximately $100 per patient for prescriptions for compound
medications written by Dr. Agatep aves filled by Park and King Pharmacy and
other conspirator phannacies for CASEPARK recruited patients.

k. It was further part of the conspiracy that Miller, Smalls,
Jackson and other conspirators would and did receive kickbacks from Carter,
when TRICARE paid Park and King Pharmacy for a prescription obtained by
an individual Miller, Smalls or Jackson recruited.

1. It was further part of the conspiracy that Miller, Smalls,
Jackson and other conspirators would and did in fact, use the proceeds from
TRICARE to pay conspirators as kickbacks for obtaining prescriptions for
compounded creams, which prescriptions were filled at Park and King

Pharmacy, and other pharmacies.
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ite It was further part of the conspiracy that the conspirators
and others would and did perform acts and make statements to hide and
conceal and cause to be hidden and concealed the purpose of the conspiracy
and the acts committed in furtherance thereof.

D. Overt Acts
10. In furtherance of the conspiracy and to effect the objects thereof,
the conspirators committed and caused to be committed, within the Middle
District of Florida and elsewhere, the following overt acts, among others:

a. On or about the dates set forth below, each of which
constitutes a separate overt act, the conspirators agreed to solicit and receive
and did in fact solicit and receive remuneration in the approximate amounts
listed below in return for submitting compound prescriptions on behalf of
TRICARE beneficiaries to Park and King Pharmacy, which prescriptions
were filled at Park and King Pharmacy and claims for which were paid in

whole or in part by a federal health care benefit program:
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Overt Act Defendant Date Approximate Kickback
Amount

a.l EARL January 21, $29,865.26
SMALLS 2015

a.2 QUALLA February 18, $18,318.39
MILLER 2015

a.3 ~MARIO February 19, .$9,000.00
CORREA 2015
JACKSON

 

 

 

 

 

All in violation of 18 U.S.C. § 371.

COUNTS TWO THROUGH FOUR
(Soliciting and Receiving Health Care Kickbacks)

A. Introduction
1, The Grand Jury hereby realleges Paragraphs 1 through 7 and 9 of
Count One of this Indictment and incorporates such paragraphs by this
reference as though fully set forth herein.
B. Offense
2. On or about the dates listed below, in the Middle District of

Florida and elsewhere, the defendants,

QUALLA MILLER,
EARL SMALLS,
and
MARIO CORREA JACKSON,

did knowingly and willfully solicit and receive remuneration, that is, kickbacks
and bribes, directly and indirectly, overtly and covertly, in cash and in kind,

including by check, in return for referring an individual to a person for the
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furnishing and arranging of any item or service for which payment may be
made in whole and in part, under a Federal health care program, specifically
remunerations in the approximate amounts listed below for the submission of
claims for compounded medication creams on behalf of TRICARE -
beneficiaries to a pharmacy for the furnishing and arranging for the furnishing
of prescription compounded creams, for which payment may be made in

whole and in part by TRICARE, as set forth below:

 

 

 

 

 

 

 

Count | Defendant Approximate Date Approximate Kickback
Amount
TWO EARL January 21, 2015 $29,865.26 from Park & King
SMALLS Pharmacy
THREE | QUALLA February 18, 2015 $18, 318.39 from Park & King
MILLER Pharmacy
FOUR MARIO February 19, 2015
CORRREA $9,000.00 from Earl SMALLS
JACKSON

 

 

 

In violation of 42 U.S.C. § 1320a-7b(b)(1)(A) and 18 U.S.C. § 2.

COUNTS FIVE AND SIX
(Offering and Paying of Health Care Kickbacks)

A. Introduction
1. The Grand Jury hereby realleges Paragraphs 1 through 7 and 9 of
Count One of this Indictment and incorporates such paragraphs by this

reference as though fully set forth herein.

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B. Offense
. ibs On or about the dates listed below, in the Middle District of
Florida and elsewhere, the defendants,
EARL SMALLS
and
MARIO CORREA JACKSON,
did knowingly and willfully offer and pay any remuneration (including
kickbacks and bribes) directly and indirectly, overtly and covertly, in cash and
in kind, to any person to induce such person to purchase and order, and
arrange for and recommend purchasing and ordering any good, service, and
item for which payment may be made in whole and in part under a Federal
health care program, specifically remuneration in the approximate amounts to
induce TRICARE beneficiaries to arrange for the writing of prescriptions for

compounded creams, which prescriptions were filled at Park and King, and

claims for which were paid in whole or in part by TRICARE:

a
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Count Defendant Approximate Approximate
Date Kickback Amount

 

FIVE MARIO CORREA February 2, 2015 $200 payment
JACKSON made into the
Navy Federal
Credit Union
Account of J.R.
ending in 8663

 

 

SIX EARL SMALLS February 19, $9,000 payment to
2015 Mario Correa
Jackson via check
number 2082
drawn on Smalis'
Vystar Credit
Union Account
ending in 6965

 

 

 

 

 

In violation of 42 U.S.C. § 1320a-7b(b)(2)(B) and 18 U.S.C. § 2.

COUNTS SEVEN AND EIGHT
(Illegal Monetary Transactions)

A. Introduction

1, The Grand Jury hereby realleges Paragraphs 1 through 7 and 9 of
Count One of this Indictment and incorporates such paragraphs by this
reference as though fully set forth herein.

B. Offense
2. On or about the dates set forth below, in the Middle District of
Florida and elsewhere, the defendants,
QUALLA MILLER

and
EARL SMALLS,

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did knowingly engage and attempt to engage in the monetary transactions set
forth below, in and affecting interstate commerce, in criminally derived
property of a value greater than $10,000, which property was, in fact, derived
from specified unlawful activity, namely the receipt and offering of health care
Hearks, in violation of 42 U.S.C. §§ 1320a-7b(b)(2)(B) and 1320a-

7b(b)(1)(A), specifically:

 

Count Defendant On or About Date Monetary
Transaction

 

 

SEVEN EARL SMALLS January 21,2015 | The withdrawal of
$20,000 cash from
Smalls’ VyStar
Credit Union
Account ending in
6965
EIGHT QUALLA MILLER | February 20, 2015 Aid and abet the

| withdrawal of
$12,300 cash from
R.R.’s Wells
Fargo Account
ending in 7833

 

 

 

 

 

 

In violation of 18 U.S.C. §§ 1957 and 2.
FORFEITURE
I. The allegations contained in Count One are incorporated by
reference for the purpose of alleging forfeiture pursuant to 18 U.S.C. §
981(a)(1)(C), 28 U.S.C. § 2461(c) and 18 U.S.C. § 982(a)(7).
2: Upon conviction of a conspiracy to commit health care fraud, in

violation of 18 U.S.C. § 1347, in violation of 18 U.S.C. § 1349, the defendants,
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QUALLA MILLER,
EARL SMALLS,
and .
MARIO CORREA JACKSON,
shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c), any property, real or personal, which constitutes or is
derived from proceeds traceable to the offense; and pursuant to 18 U.S.C.
§ 982(a)(7), any property, real or personal, that constitutes or is derived,
directly or indirectly, from gross proceeds traceable to the commission of the
offense.

3. The allegations contained in Counts Two through Four are
incorporated by reference for the purpose of alleging forfeiture pursuant to 18
U.S.C. § 982(a)(7).

4. Upon conviction of a violation of 42 U.S.C. § 1320a-7b(b)(1)(A),
as alleged in Counts Two through Four, the defendants,

QUALLA MILLER,
EARL SMALLS,
and
MARIO CORREA JACKSON,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(7), any

property, real or personal, that constitutes or is derived, directly or indirectly,

from gross proceeds traceable to the commission of the offense.

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5 The allegations contained in Counts Five and Six are
incorporated by reference for the purpose of alleging forfeiture pursuant to 18
U.S.C. § 982(a)(7).

6. Upon conviction of a violation of 42 U.S.C. § 1320a-7b(b)(2)(B),
as alleged in Counts Five and Six, the deenaanis:

EARL SMALLS
and
MARIO CORREA JACKSON,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(7), any
property, real or personal, that constitutes or is derived, directly or indirectly,
from gross proceeds traceable to the commission of the offense.

7. The allegations contained in Counts Seven and Eight are
incorporated by reference for the purpose of alleging forfeiture pursuant to 18
U.S.C. § 982(a)(1).

8. Upon conviction of a violation of 18 U.S.C. § 1957, as alleged in
Counts Seven and Eight, the defendants,

QUALLA MILLER
and
EARL SMALLS,
shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(1), any
property, real or personal, involved in such offense, or any property traceable

to such property.

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9, The property to be forfeited includes, but is not limited to, the

following:

The sum of at least $138,044.49 in proceeds
defendant QUALLA MILLER obtained as a result
of the commission of the offenses charged in Counts
One, Three and Eight;

The sum of at least $97,448.72 in proceeds
defendant EARL SMALLS obtained as a result of
the commission of the offenses charged in Counts
One, Two, Six and Seven; and

The sum of at least $34,200.00 in proceeds
defendant MARIO CORREA JACKSON obtained
as a result of the commission of the offenses charged
in Counts One, Four and Five.

10. Ifany ofthe property described above, as a result of any act or

omission of the defendants:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third

has been placed beyond the jurisdiction of the court;

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d. has been substantially diminished in value; or
6. has been commingled with other property which cannot be
divided without difficulty

the United States shall be entitled to forfeiture of substitute property pursuant
to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), and as

incorporated by 18 U.S.C. § 982(b)(1).

 

 

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~ MARIA CHAPA LOPEZ
United States Attorney
Bye One Ala ck ioury/
oe utie Hackenberry

Assistant United States Attorney

By: Naw AC hale

Amanda L. Riedel
Assistant United States Attorney
Deputy Chief, Criminal Division

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November 19

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No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

 

 

THE UNITED STATES OF AMERICA
VS.

QUALLA MILLER,
EARL SMALLS,
and
MARIO CORREA JACKSON

 

 

INDICTMENT

Violations: 18 U.S.C. § 371
42 U.S.C. § 1320a-7b(b)(1)(A)
42 U.S.C. § 1320a-7b(b)(1)(A)
18 U.S.C. § 1957

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